This is an application for leave to appeal from refusal of a writ of habeas corpus.
This petitioner claims that he was sentenced to one year for larceny in the People's Court in Salisbury, Maryland, which was too long a time for that offense; further, that he was sentenced for one year on the charge of assault with a knife. He says that this could not have happened because his accuser was drunk at the time. If the sentence was too severe, his redress is through the executive authorities. He could have obtained a trial de novo
by appeal to the Circuit Court. Article 52, § 13; Green v.State, 113 Md. 154, 77 A. 677. The questions of guilt or innocence and the sufficiency of the evidence cannot be retried on habeas corpus. Olewiler v. Brady, 185 Md. 341, 344,44 A.2d 807; Bernard v. Warden, 187 Md. 273, 49 A.2d 737; Copeland v.Wright, 188 Md. 666, 53 A.2d 553; Rountree v. Warden,189 Md. 292, 55 A.2d 847.
Application denied, without costs. *Page 735 